                  Case 3:18-cv-00812-SB         Document 1        Filed 05/09/18   Page 1 of 4




     KYLE SCHUMACHER (BAR #121887)
1    kschumacher@sagarialaw.com
     SAGARIA LAW, P.C.
2    3017 Douglas Blvd., Ste. 200
     Roseville, CA 95661
3    408-279-2288 ph
     408-279-2299 fax
4
     Attorneys for Plaintiff
5    Crystal Hammer
6                                    UNITED STATES DISTRICT COURT
7
                             DISTRICT OF OREGON – PORTLAND DIVISION
8

9                                                     CASE NO. 3:18-cv-00812
     CRYSTAL HAMMER,
10

11                             Plaintiff,             PLAINTIFF’S COMPLAINT FOR DAMAGES:
12           v.
                                                           1. Violation of the Telephone Consumer
13                                                            Protection Act
     Capital One, National Association, and
14   DOES 1 through 100 inclusive,
15                             Defendants.
16
             COMES NOW Plaintiff Crystal Hammer an individual, based on information and belief,
17
     to allege as follows:
18
                                              INTRODUCTION
19
         1. This is an action for damages brought by an individual consumer for Defendant’s
20
     violation of the Telephone Consumer Protection Act 47 U.S.C. §227, et seq. (hereinafter
21
     “TCPA”), which prohibits the use of automated dialing equipment when making calls to
22
     consumers.
23
         2. Plaintiff brings this action against Defendant Capital One, N.A. (hereinafter “Capital
24
     One”) for its abusive and outrageous conduct in connection with debt collection activity.
25      3. While may violations are described below with specificity, this Complaint alleges
26   violations of the statutes cited in their entirety.
27       4. The TCPA was designed to prevent calls like the ones described herein, and to protect
28   the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give

                                                           1
                 Case 3:18-cv-00812-SB        Document 1      Filed 05/09/18      Page 2 of 4




     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
1
     associated with automated or prerecorded calls.
2

3                                     JURISDICTION & VENUE

4       5. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §

5    227.

6
        6. This venue is proper pursuant to 28 U.S.C. §1391(b).

7
                                    GENERAL ALLEGATIONS
        7.   Plaintiff Nancy Boyd (hereinafter “Plaintiff”) is an individual residing in the state of
8
     Oregon, and is a “debtor.”
9
        8.   At all relevant times herein, Defendant CAPITAL ONE engaged, by the use of mail,
10
     email, and telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt.”
11      9.   At all relevant times, Defendant acted as a “debt collector.”
12      10. Plaintiff had taken out an unsecured loan with CAPITAL ONE in approximately 2007.
13      11. The loan Plaintiff took from Defendant CAPITAL ONE was extended primarily for
14   personal, family or household purposes and is therefore a “debt.”

15
        12. Defendant CAPITAL ONE has been attempting to collect on a debt that originated
     from monetary credit that was extended primarily for personal, family, or household purposes,
16
     and was therefore a “consumer credit transaction.”
17
        13. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
18
     CAPITAL ONE arising from what Plaintiff is informed and believes was a consumer credit
19
     transaction, the money allegedly owed was a “consumer debt.”
20
        14. Plaintiff is informed and believes that Defendant is one who regularly collects or
21   attempts to collect debts on behalf of themselves, and is therefore a “debt collector.”.
22      15. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
23   accounts.
24      16. Plaintiff began making payments on the loan before she became financially unable to

25
     keep up with the monthly payments.
        17. Defendant CAPITAL ONE began contacting Plaintiff in January of 2018 to inquire
26
     about the status of the loan and to collect on the payments that were no longer being made.
27

28

                                                       2
               Case 3:18-cv-00812-SB           Document 1      Filed 05/09/18   Page 3 of 4




        18. Plaintiff retained counsel to assist in dealing with CAPITAL ONE debt and to seek
1
     some type of financial relief.
2
        19. Counsel for Plaintiff sent the letter of revocation to CAPITAL ONE on or about
3
     March 1, 2018
4
        20. Plaintiff believes her revocation and representation letter was received by Capital One
5
     on March 8, 2018.
6       21. Plaintiff informed CAPITAL ONE that she was revoking her consent, if it was ever
7    previously given, to be called on her telephone in March of 2018.
8       22. Plaintiff was frustrated that Capital One continued to make unsolicited calls on her
9    cellular telephone after contacting Capital One to revoke her consent.

10
        23. Plaintiff denies she ever gave her express consent to be contacted on her cellular
     telephone by automatic dialing machines and pre-recorded messages.
11
        24. Defendant CAPITAL ONE continued to contact Plaintiff between approximately
12
     March 9, 2018 – April 26, 2018; the type of contact was through phone calls to Plaintiff on her
13
     cellular telephone.
14
        25. Despite notice being sent Defendant continued to contact Plaintiff on her cellular
15
     telephone regarding collection of her outstanding debt.
16      26. Capital One ignored Plaintiff’s revocation letter and continued to contact her for at
17   nearly two months following receipt of Plaintiff’s letter.
18      27. CAPITAL ONE’s calls were frequent in nature and continued despite receiving
19   written confirmation that she was revoking any consent that may have been previously given to

20
     be called on her cellular telephone.
                                       FIRST CAUSE OF ACTION
21
                                           (Violation of the TCPA)
22                                              (47 USC § 227)
                                      (Against Defendant and Does 1-100)
23
        28. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
24
     above as though fully set forth herein.
25
        29. Since at least January of 2018 Defendant started calling Plaintiff’s cellular telephone
26
     requesting that payment be made on the accounts Plaintiff held with Defendant.
27      30. Plaintiff informed Defendant that she was revoking consent to be contacted by
28   CAPITAL ONE in March of 2018.
                                                       3
               Case 3:18-cv-00812-SB         Document 1      Filed 05/09/18     Page 4 of 4




        31. CAPITAL ONE continued to call Plaintiff frequently since Plaintiff withdrew her
1
     consent to be contacted by an automatic dialing machine.
2
        32. Defendant would contact Plaintiff frequently regarding payment on the accounts.
3
        33. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
4
     the collection messages without Plaintiff’s prior express consent.
5
        34. Defendant contacted Plaintiff on at least 71 (seventy one) separate occasions after
6    Plaintiff informed Defendant she did not wish to be contacted on her cellular telephone and
7    withdrew any prior consent that may have been given.
8       35. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing

9    system” as defined by 47 U.S.C. §227(a)(1).

10
        36. These calls were made to Plaintiff’s cellular telephone and were not calls for an
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
11
        37. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
12

13                                      PRAYER FOR RELIEF
14   WHEREFORE, Plaintiff prays for judgment as follows:
15              a. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.

16                  §227(b)(3)(C) for each and every violation.

17
                b. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
                    in the future.
18
                c. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
19
                    amount to be proven at trial.
20
                                                          SAGARIA LAW, P.C.
21   Dated: May 9, 2018                             By:   /s/ Kyle Schumacher
                                                          Kyle Schumacher
22
                                                          Attorneys for Plaintiff
23
                                     DEMAND FOR JURY TRIAL
24
            Plaintiff hereby demands trial of this matter by jury.
25
                                                           SAGARIA LAW, P.C.
26
     Dated: May 9, 2018                                   /s/ Kyle Schumacher
27                                                        Kyle Schumacher
28
                                                          Attorneys for Plaintiff

                                                      4
